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 2    District of Arizona
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 6
 7                            UNITED STATES BANKRUPTCY COURT
 8                                  DISTRICT OF ARIZONA
 9    In re:                               )   Chapter 11
                                           )
10    THE ROMAN CATHOLIC CHURCH OF         )   No. 4:04-bk-04721-JMM
      THE DIOCESE OF TUCSON,               )
11                                         )   OBJECTION TO DEBTOR’S
                                           )   APPLICATION TO EMPLOY
12                                         )   ORDINARY COURSE PROFESSIONALS
                    Debtor.                )
13                                             Hearing Date: March 25, 2005
                                               Time:         10:30 a.m.
14                                             Location:     38 N. Scott Ave.
                                                             Courtroom 446
15
16               The United States Trustee for the District of Arizona, by and
17    through her attorney undersigned, hereby submits her objection to the
18    “Debtor’s Motion Pursuant to 11 U.S.C. §§ 105(a) and 328 for Order: (I)
19    Authorizing Employment of Certain Professionals Utilized in the Ordinary
20    Course of Business: and (II) Authorizing and Approving Procedures for
21    Future Employment of Ordinary Course Professional,” for the following
22    reasons: 1) The professionals sought to be employed by the Diocese are
23    not ordinary course professionals; 2) The Diocese seeks compensation of
24    the proposed professionals under § 328(a), rather than under the § 330
25    Reasonableness standard; 3) The proposed procedure which requires the
26    filing of an adverse interest affidavit and a retention questionnaire
27    after employment is approved, rather than prior to retention is not
28    appropriate; and 4) The application seeks nunc pro tunc approval of the




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 1    employment of three attorneys without meeting the required Ninth Circuit
 2    standard authorizing such employment.
 3
 4    1.   The professionals sought to be employed by the Diocese are not
           ordinary course professionals.
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 6               The Diocese seeks to employ three attorneys (listed on Exhibit
 7    B to the Diocese’s application) as ordinary course professionals pursuant
 8    to 11 U.S.C. § 327(b).      However, the three professionals proposed to be
 9    employed are independent contractors, paid on an hourly basis.1/                Section
10    327(b) authorizes the employment of ordinary course professionals if
11    previously employed on salary, not those employed hourly as independent
12    contractors.     Collier states: “Section 327(b) applies whenever ... the
13    debtor    has   regularly    employed     attorneys,    accountants        or    other
14    professional persons on salary.         3 Collier on Bankruptcy, § 327.04[6],
15    at 327-54, 15th Ed.
16               The three attorneys should instead be employed under § 327(e)
17    as special counsel, and be subject to the same procedures as other
18    professionals employed in the case.            Interestingly, the Diocese cites
19    both § 327(b) and 327(e) as authority for the employment of these
20    professionals.    However, the relief it requests is exclusively under §
21    327(b).   So it appears that the Diocese is attempting to characterize
22    their pre-petition independent contractor attorneys (who should simply
23    be 327(e) special counsel) as salaried ordinary course professionals.
24               The case authority for 327(b) employment cited by the Diocese,
25    two bankruptcy court cases, is not supportive of its position.                   One is
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      1/
           Although this isn’t clear in the application, counsel for the
28    debtor has informally confirmed such to be the case.

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 1    a 1988 bankruptcy court decision out of the Southern District of Texas,
 2    In re Lowry Graphics, 86 B.R. 74.           First, in that case, the bankruptcy
 3    court denied the § 327(b) application.                  Second, the duties to be
 4    performed by the professional were delegated by the chapter 11 trustee,
 5    essentially to run the company as CEO.             Third - and most significantly -
 6    the bankruptcy court’s decision noted that § 327(b) applied only where
 7    a company had previously had a professional on payroll and - only under
 8    some circumstances - on retainer.           Id. at 78.        The other decision is a
 9    1994 bankruptcy decision out of Puerto Rico, Matter of Delta Petroleum,
10    164 B.R. 425. The professional in that case was a marketing director who
11    prior to bankruptcy was paid a commission on sales; he also received
12    health insurance and a car.
13
14    2.   The Diocese seeks compensation of the proposed professionals under
           § 328(a), rather than under the § 330 Reasonableness standard.
15
                 Section      328   of   the    Code     provides    for   retention   of   a
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      professional under § 327 or § 1103 on any reasonable terms and conditions
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      of employment. It further provides that compensation may be reduced only
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      if such terms and conditions prove to have been improvident in light of
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      developments not capable of being anticipated at the time of the fixing
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      of such terms and conditions.            The latter standard makes it extremely
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      difficult to object to fees at the end of the case if it appears that the
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      fees requested are not reasonable.               When the terms of employment of a
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      professional is approved under Section 328 of the Bankruptcy Code, the
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      Court is limited to the “improvident in light of developments not capable
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      of being anticipated” standard of review under Section 328.                 Retention
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      under Section 328 prohibits the Court, creditors, interested parties and
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      the United States Trustee from objecting to a professional’s fees based
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 1    upon the “reasonableness” standard of § 330.              See In re Gypsum Company,
 2    123 F.3d 863 (5th Cir. 1997); In re Merry-Go-Round Enterprises, Inc. 244
 3    B.R. 327 (Bankr. D. Md. 2000); In re Circle K Corporation, 279 F.3d 669
 4    (9th Cir. 2002).
 5               Review of professionals’ fee applications under the standard
 6    of review set forth in § 330 is the accepted local practice in the
 7    District   of    Arizona.     It    is    a    fair   standard    which   allows    for   a
 8    determination of whether the request is reasonable and the proposed
 9    compensation is for actual, necessary services and expenses. Rather than
10    putting the burden on the Court, creditors and other interested parties
11    “up front” at the employment application stage to guess what developments
12    may make the employment agreement “improvident” later in the case, the
13    burden should be on the professional to show that its fees are reasonable
14    and that the services provided are actual and necessary, after the
15    services are performed.
16               Approving employment under the § 327 “reasonableness” standard
17    avoids the possibility of the Court being required to approve fees that
18    it believes to be unreasonable.
19
20    3.   The proposed procedure inappropriately requires the filing of an
           adverse interest affidavit and a retention questionnaire after
21         employment is approved, rather than prior to approval.
22               In the event that certain professionals could be characterized
23    as   “ordinary     course,”   the        Diocese       proposes    to     require   these
24    professionals to file an adverse interest affidavit (a verified statement
25    under Bankruptcy Rule 2014) and a “Retention Questionnaire”2/ after,
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      2/
           Setting forth, among other things, the proposed duties of the
28    professional. See Exhibit A to the Diocese’s application.

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 1    rather than before the      professional’s employment is approved.
 2               Instead, the 2014 Statement and the Retention Questionnaire
 3    should be completed at the initial application stage, so that creditors
 4    and interested parties       are   in    an informed position to object, if
 5    appropriate, prior to approval of the professional’s employment.                 There
 6    is no benefit to the procedure proposed by the Diocese; in fact, it could
 7    result in additional costs and complexities, such as subsequent motions
 8    to   reconsider,   or   objections      to    a    professional’s   employment   after
 9    services have already been rendered.
10
11    4.    The application seeks nunc pro tunc approval of the employment of
            three attorneys without even attempting to meet the required Ninth
12          Circuit standard authorizing such employment.
13               The proposed application seeks employment of three attorneys
14    “as of the Petition Date”, which was September 20, 2004, some five and
15    one-half months prior to the filing of the application.                  The Diocese
16    fails to acknowledge the reality that this is a nunc pro tunc employment
17    application, and has not even attempted to meet the required Ninth
18    Circuit standard authorizing such employment.
19               The Ninth Circuit authorizes nunc pro tunc retention orders
20    only under certain exceptional circumstances.              Specifically, a nunc pro
21    tunc appointment and allowance of fees is justified when there is a
22    satisfactory explanation for the failure to receive prior judicial
23    approval and a significant benefit to the estate is demonstrated.                In re
24    Atkins, 69 F.3d 970, 974 (9th Cir. 1995); In re Occidental Financial
25    Group, Inc., 40 F.3d 1059, 1062 (9th Cir. 1994); In re THC Financial
26    Corp., 837 F.2d 389 (9th Cir. 1988). It has been held that a reasonable
27    "grace period" is 30 days prior to the date of the filing of the
28    employment application. In re Sinor, 87 B.R. 620 (Bankr. E.D. Cal 1988).

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 1                Even    were    the   failure     to   seek   prior   judicial    approval
 2    attributable to inexcusable or unexplained negligence, the Bankruptcy
 3    Appellate Panel of the Ninth Circuit has held that this would not
 4    constitute "extraordinary circumstances"             justifying such nunc pro tunc
 5    employment and allowance of fees.            In re Crook, 79 B.R. 745, 479 (9th
 6    Cir. BAP 1987); In re Downtown Inv. Club III, 89 B.R. 59, 63 (9th Cir.
 7    BAP 1988); In re Shirley, 134 B.R. 940, 943 (9th Cir. BAP 1992).
 8                Because the Diocese has failed to meet the test articulated by
 9    the Ninth Circuit, the proposed professionals are not eligible for
10    compensation for work done prior to the date that their employment
11    application was filed.
12                WHEREFORE, the United States Trustee respectfully requests
13    that:
14                1.     The three attorneys currently proposed to be employed by
15    the Diocese should be employed under § 327(e), rather than § 327(b), and
16    as such should be required to submit periodic fee applications for all
17    of their fees;
18                2.     The fee applications of any of the professionals proposed
19    to be employed, either currently or prospectively, should be subject to
20    the     “reasonableness” standard of review under § 330, rather than the
21    “improvident under circumstances incapable of being anticipated” standard
22    of review under § 328(a);
23                3.     The proposed procedure of requiring the filing of adverse
24    interest affidavits and retention questionnaires after employment is
25    approved, rather than prior to approval be denied; and
26                4.     In order to justify the nunc pro tunc retention of the
27    three attorneys proposed to be employed the debtor should be required to
28    satisfy the Ninth Circuit criteria for each applicant, by showing that

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 1    there is a satisfactory explanation for the failure to receive prior
 2    judicial   approval     and   a   significant    benefit    to   the   estate     is
 3    demonstrated.
 4               RESPECTFULLY SUBMITTED this 17th day of March, 2005.
 5                                             ILENE J. LASHINSKY
                                               United States Trustee
 6                                             District of Arizona
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                                               ________________________________
 8                                             CHRISTOPHER J. PATTOCK
                                               Trial Attorney
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 1
      Copies of the foregoing mailed on
 2    the 18thth day of March, 2005, to:
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